Case 1:20-cr-00004-RGE-HCA Document 102 Filed 07/29/20 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,
Criminal No. 1:20-CR-004
Vv.
PLEA AGREEMENT

JEROMY HEATH CLARK, ATTACHMENT B

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Defendant.

The United States of America (also referred to as “the Government’),
Defendant, JEROMY HEATH CLARK, and Defendant's attorney, enter into this
Attachment B to the Plea Agreement.

i. The parties signed and filed a Plea Agreement in this case.

2. The parties agree that this Attachment B to the Plea Agreement should
modify the Plea Agreement with the following stipulations:

(a) Paragraph 8(a) should be amended to include the language,
“Beginning as early as February 2019” the defendant entered into an agreement or
understanding to distribute methamphetamine, to accurately encompass the timing
the conspiracy alleged in the Second Superseding Indictment.
(b) The parties agree that the remainder of the Plea Agreement is not
modified by Attachment B.
3. Defendant. I have read all of this Attachment B to the Plea Agreement

and have discussed it with my attorney. I fully understand the Attachment B to the

Plea Agreement and accept and agree to it without reservation.
Case 1:20-cr-00004-RGE-HCA Document 102 Filed 07/29/20 Page 2 of 2

71/24\ 20 {) Cbs

Date Jeromy HeAth Clark

4. Defendant's Attorney. I have read this Attachment B to this Plea

Agreement and have discussed it in its entirety with my client.

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Date Julid|Frank
Attorney for Jeromy Heath Clark
209 South 19th Street, Suite 323C
Omaha, NE 68102
Telephone: (402) 346-2215
Telefax: (402) 346-5920
E-Mail: jfrank1@cox.net

Ds United States. The Government agrees to the terms of this Attachment
B to the Plea Agreement.

Marc Krickbaum
United States Attorney

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